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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS


MARGARET WANJIKU KARANJA, as the )
Administrator and Personal Representative )
of the Estate of HELEN WAITHIRA           )
KARANJA, Deceased,                        )
                                          )                 Lead Case: 19-cv-02170
                                          )
        Plaintiff,                        )                 Hon. Jorge L. Alonso
vs.                                       )
                                          )                 This Filing Applies to: 19-cv-2770
THE BOEING COMPANY, a Delaware            )
Corporation;                              )
                                          )
ROSEMOUNT AEROSPACE, INC.                 )
A Delaware Corporation,                   )
                                          )
ROCKWELL COLLINS, INC., A Delaware )
Corporation,                              )
                Defendants                )

                                  NOTICE OF JOINT MOTION

TO: All Defense Counsel of Record
PLEASE TAKE NOTICE that on the 6th day of April, 2021 at 9:30 a.m., or as soon thereafter as counsel
may be heard, I shall appear via telephone before the Honorable Jorge L. Alonso or any other judge sitting in
his stead in Courtroom 1903, Everett McKinley Dirksen United States Courthouse, 219 S. Dearborn St.,
Chicago, IL and present Joint Motion for Dismissal of Plaintiff’s Claims With Prejudice and Approval
of Settlement.
Lawrence T. Ruder
RUDER LAW, LLC
300 Saunders Rd, St. 200
Riverwoods, IL 60015
(312) 481-7007
ARDC #: 3126379
lruder@ruderlaw.net

                                     CERTIFICATE OF SERVICE
 I, Lawrence T. Ruder, certify that on March 31, 2021, I electronically served a true and correct copy of this
 Notice of Motion upon all defense counsel of record via the Court’s CM/ECF system.
                                                   /s/ Lawrence T. Ruder


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